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                        IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF UTAH


 GARFIELD COUNTY, UTAH, a Utah
 political subdivision; KANE COUNTY,
 UTAH, a Utah political subdivision; and THE
 STATE OF UTAH, by and through its
 Governor, SPENCER J. COX, and its
 Attorney General, SEAN D. REYES;
                 Plaintiffs,                          Case No. 4:22-cv-00059-DN-PK (lead case)
                                                      Case No. 4:22-cv-00060-DN-PK
 ZEBEDIAH GEORGE DALTON;
 BLUERIBBON COALITION; KYLE                           District Judge David Nuffer
 KIMMERLE; and SUZETTE RANEA                          Magistrate Judge Paul Kohler
 MORRIS;
           Consolidated Plas,
 v.
 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et
 al.,

                  Defendants,

 HOPI TRIBE, NAVAJO NATION, PUEBLO
 OF ZUNI, and UTE MOUNTAIN UTE
 TRIBE;

                Intervenor-Dfts.



                 SUPPLEMENTAL DECLARATION OF ADE K. NELSON

I, Ade K. Nelson, in accordance with 28 U.S.C. § 1746, declare as follows:

       1.      I am the Grand Staircase-Escalante National Monument Manager for the Bureau

of Land Management (BLM), an agency of the Department of the Interior. I have been in the

position of Monument Manager since April 17, 2022. I have been with the BLM since 2020.



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       2.      As the Grand Staircase-Escalante National Monument Manager, I am responsible

for directing employees assigned to the monument and coordinating with many other

professional staff in the management of approximately 1.87 million acres of federal public land

and associated resources within Grand Staircase-Escalante National Monument (GSENM or

Monument) in the State of Utah. I work collaboratively with many interested parties, including

state and local governments, as well as other federal agencies, tribal governments, and the

GSENM Advisory Committee to address many complex resource management issues.

       3.      I have reviewed the Plaintiffs’ amended complaints concerning Proclamations

10,285 and 10,286 and pertinent agency documents. I have also reviewed the Plaintiffs’

opposition to the Federal Defendants’ Motion to Dismiss.

       4.      The purpose of this Supplemental Declaration is to provide the Court with

additional information in support of the Federal Defendants’ Motion to Dismiss. The facts set

forth in this Declaration are based upon my personal knowledge and records kept in the ordinary

course of the BLM’s business.

       5.      To my knowledge, the BLM has not received, nor has it denied, any applications

or requests from Kane or Garfield counties to obtain mineral materials from materials pits within

the boundaries of GSENM since Proclamation 10,286 issued on October 8, 2021. Additionally,

the BLM has not closed any operational mineral materials pits within the boundaries of GSENM

as a result of Proclamation 10,286.

       6.      During the Trump Administration, the on-the-ground rules concerning motorized

vehicle use in the area around the Paria River were not relaxed, and members of the public were

not authorized or permitted to ride motorized vehicles in a 90-foot corridor used as a right-of-

way in the Paria Canyon. From 2017 to 2021, the BLM did not issue any new authorizations,



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including rights-of-ways, to use motorized vehicles in Paria Canyon. The Paria Canyon area

remained closed to motorized vehicle use, even after Proclamation 9,682 removed the Paria

River corridor from GSENM, creating a 90-foot corridor that divided the former Grand Staircase

and Kaiparowits Units of the reduced Monument.

       7.       Even though the 90-foot Paria River corridor was excluded from GSENM by

Proclamation 9,682, the area remained within the Paria Hackberry Wilderness Study Area

(“WSA”). Under section 603(c) of the Federal Land Policy and Management Act, 43 U.S.C. §

1782(c), the BLM is required to manage the Paria Hackberry WSA in a manner so as not to

impair its suitability for preservation as wilderness. This obligation generally prevents the BLM

from authorizing motorized vehicle use in the Paria River corridor.




Executed this 5th day of May 2023, in Kanab, Utah.



                    Digitally signed by ADE NELSON
                    Date: 2023.05.05 14:34:53 -06'00'
_______________________________

Ade K. Nelson

Grand Staircase-Escalante National Monument Manager




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